
ORFINGER, J.
The State of Florida appeals the circuit court's order denying its petition for a writ of quo warranto, challenging the Office of Public Defender's authority to intervene in civil traffic infraction cases. Based on our opinion in State v. Grate, No. 5D18-683, --- So.3d ----, 2018 WL 3595263 (Fla. 5th DCA July 27, 2018), issued simultaneously herewith, we treat this matter as a direct appeal, reverse the circuit court's order, and remand with instructions to grant the petition.1
REVERSED and REMANDED.
WALLIS and LAMBERT, JJ., concur.

The circuit court considered this matter with a three-judge panel. Judge Paulk dissented and would have granted the petition.

